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                              UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF OKLAHOMA


ROOM 1210, U.S. COURTHOUSE
OKLAHOMA CITY, OKLAHOMA 73102

Date: June 10, 2021


 CAMEO HOLLAND, an Individual and              )
 Next of Kin to Minor Child, S.R., Deceased,   )
                                               )
                Plaintiff,                     )
                                               )
v.                                             )         Case No. CIV-21-275-J
                                               )
CITY OF OKLAHOMA CITY, et al.                  )
                                               )
                Defendants.                    )




ENTER ORDER:

Motion to Dismiss [Doc. No. 11] filed by City of Oklahoma City was filed incorrectly and is
hereby STRICKEN.

By direction of Judge Bernard M. Jones, we have entered the above enter order.


                                                   Carmelita Reeder Shinn, Clerk


                                                   By:            s/ D. Wayne Lee
                                                                   Deputy Clerk

cc:   all parties
